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                     EXHIBIT 18
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Registered Charitable Food Service Groups December 12, 2015

City-owned property

              1.   True Vine Missions, Inc. George T. Nelson Park, 3820 Yellowstone
              2.   Sugar Land United Methodist, 205 Chartres, (vacant city owned lot)
              3.   PBJ Ministry, 205 Chartres
              4.   Church Without Walls, Tranquility Park , 400 Rusk
              5.   Faithful Givers Foundation, 205 Chartres
              6.   Sherita Harmon, Peggy's Point Plaza, 4240 Main
              7. Word of Life Ministries/Sarah's Haven, Inc., 205 Chartres
              8. Mount Vernon Baptist Church, 205 Chartres
              9. Langdon and Jessica Cassidy, 205 Chartres
              10. God’s Hands, 205 Chartres
              11. Tom Waggoner, Allen’s Landing, 1001 Commerce
              12. Melissa Davila, Peggy’s Point Plaza, 4240 Main
              13. Double Portion Baptist Church, 205 Chartres
              14. New Community Baptist Church, 1404 Witte Rd., Haden Park
              15. Sons of Hiram Lodge #29, Peggy’s Point Plaza, 4240 Main
              16. Dedric K. Myers & Associates, LLC, Peggy’s Point Plaza, 4240 Main and 205 Chartres
              17. Lakewood United Methodist Church, 205 Chartres
              18. Coalition for the Homeless, Hermann Square/City Hall, 901 Bagby
              19. Voice of Evangelism International, 1001 Commerce
              20. Aunties Place International, 205 Chartres
              21. Rodolfo Rodriguez, 205 Chartres
              22. Pride of Maple Leaf #43, 205 Chartres
              23. Garden Oaks Church of Christ, 205 Chartres
              24. Milky Way Community and Youth Centre, 205 Chartres
              25. Islamic Circle of North America (ICNA), 205 Chartres, Peggy’s Point Plaza, 4240 Main
                  and Allen’s Landing, 1001 Commerce
              26. New Start Community Church and Outreach Services, 205 Chartres
              27. Dwendol And Lawanna Nelson, Allen’s Landing, 1001 Commerce
              28. Treasures Out of Darkness Ministries, 205 Chartres
              29. St. Andrews Episcopal Church (Boy Scouts of America), 205 Chartres
              30. Christian Bethel Center, 205 Chartres
              31. Eden’s Hands, 1001 Commerce
              32. Roy’s Safe Haven, 1001 Commerce
              33. Upper Room Assembly, 205 Chartres
              34. His Compassion Ministry 205 Chartres
              35. Shekinah Glory International 205 Chartres
              36. Oasis of Love Foundation 205 Chartres
              37. De Mi Mano a la Tuya 205 Chartres




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          38. The LightHouse Church and Ministries Little Tranquility Park (700 Bagby between
              Rusk and Capitol)
          39. Listen to the Cries of the Children/Streets of Gold, Guadalupe Plaza Park, 2311
              Runnels Street
          40. Bound 4 Glory Ministries, 205 Chartres
          41. Dorcas Chapter #330, 205 Chartres
          42. Christ Restoration Ministry, 205 Chartres
          43. Mike Ortiz, 205 Chartres
          44. Divinity Expressions Outreach Center, 205 Chartres
          45. Houston Elf Society, 205 Chartres
          46. Baytown Church, 205 Chartres
          47. God’s Neighborhood Church, 205 Chartres
          48. Miles for Missions aka Sidewalk Talkz, Eastwood Park, 5020 Harrisburg
          49. SHSU UHBC Bridge Ministry, 205 Chartres
          50. His Healing House, 205 Chartres
          51. South Wesley AME Church, 205 Chartres
          52. The King’s Touch Ministry, Little Tranquility Park
          53. Emmanuel Cares, Peggy’s Point Plaza
          54. New Mount Calvary Missionary Baptist Church, 205 Chartres
          55. MDC Brown Bags, 205 Chartres
          56. Hash Tag Lunch Bags, Peggy’s Point Plaza
          57. Daughters of God, 205 Chartres
          58. Tyson Angel Heart, Peggy’s Point Plaza
          59. Torrey Randall, Peggy’s Point Plaza
          60. Liliana Guevara, 205 Chartres
          61. Willing Workers Club, 205 Chartres
          62. Operation Good Citizen, 205 Chartres
          63. Foam Brothers, Inc., Peggy’s Point Plaza
          64. Crystal Armstrong, Peggy’s Point Plaza
          65. Food Crews Houston, Peggy’s Point Plaza
          66. Promulgate, 205 Chartres
          67. The Church of Abundance
          68. Redeemed Christian Church of God National Revival Center
          69. A Splice of Life, Addie Edwards
          70. James Greenwood and Elisa Noreiga
          71. The Word Church
          72. The Church on Fire Christian Center
          73. Queens of 3703, 205 Chartres
          74. Vivian, 205 Chartres Street
          75. Truc Lam Mediation Center, 205 Chartres
          76. Victories of Faith Community Church, Peggy’s Point Plaza
          77. Sons of Hiram, Miklos Hawthorne, Little Tranquility
          78. Diversity United, Yolanda Miles, Peggy’s Point Plaza




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          79. Christ the King Lutheran Church, Peggy’s Point Plaza
          80. New Faith Community Outreach, Peggy’s Point Plaza
          81. Old Crow Parlor, Peggy’s Point Plaza
          82. Current Christian Church, Peggy’s Point Plaza
          83. Truc Lam Meditation Center, Ana Munoz and Maria Dominguez, Peggy’s Park
          84. Lotus Scott, Peggy’s Point Plaza
          85. Rice Family and Friends, Peggy’s Point Plaza
          86. Steve Jordan, Peggy’s Point Plaza
          87. Cameron Feeds the Homeless, Josie Smith, Peggy’s Point Plaza
          88. Ezele Briscoe, Peggy’s Point Plaza
          89. Truc Lam Mediation Center, Dulce Garcia, Peggy’s Point Plaza
          90. Direct Hope, Delaina Mulcahy, Little Tranquility
          91. Joseph Lackey, Peggy’s Point Plaza
          92. Kimberly Bryant, Peggy’s Point Plaza
          93. Nadia Granados, Peggy’s Point Plaza




          94. Victory Hunger Mission Program every 2nd Saturday of the month from 1:30 p.m. to
              5:30 p.m. through December 2014 at Cleme Manor Apartments at 5300 Coke St.,
              1714 Collingsworth and Missionary Village Apartments at 4002 Corder Street.
          95. In Memory of Juanita and Francisco Umana, 9805 S. Main
          96. Star Bethel Outreach Ministry, 7615 W. Montgomery Rd. @ W. Little York
          97. St. Mary’s United Methodist Church—The Bridge Ministry, 6731 Scott Street.
          98. New Faith Unity Outreach—Reverend Raymond Thompson, 1714 Collingsworth




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